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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JOSH HAWLEY FOR SENATE
150 Long Road
Suite 50
Chesterfield MO 63005

                      Plaintiff,
                                                    Civil Case No. ___________________
v.

FEDERAL ELECTION COMMISSION
1050 First Street NE
Washington, DC 20463

                      Defendant.



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Now comes Plaintiff, Josh Hawley for Senate, and states as follows:

                                      INTRODUCTION

       1.      Plaintiff brings this action under the Freedom of Information Act, 5 U.S.C. § 552

et seq. (“FOIA”), challenging the Federal Election Commission’s (the “FEC” or “Commission”)

improper withholding of records responsive to Plaintiff’s FOIA request submitted on November

23, 2021 (the “FOIA Request” or “Request”).

       2.      Plaintiff filed a request for documents with the FEC on November 23, 2021,

regarding the FEC’s consideration of several enforcement matters, all of which are related in

subject matter, and certain of which name Plaintiff as an administrative respondent (together, the

“Related MURs”). In response to Plaintiff’s request, the FEC provided an incomplete and redacted

production on January 7, 2022, noting that it was withholding 32 pages of responsive materials

under specified FOIA exemptions. The FEC produced one additional responsive document on
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March 25, 2022, and reiterated that it was withholding 32 pages of responsive materials under

specified FOIA exemptions.

       3.      Plaintiff filed an administrative appeal with Defendant on March 30, 2022.

       4.      The FEC notified Plaintiff on April 27, 2022, that “[u]pon review of your FOIA

appeal, the Commission was unable to render an opinion on whether to approve or deny the appeal

by a majority vote.” Due to this stalemate the FEC: (a) continues to withhold 32 pages of

responsive documents, including vote certifications and a Statement of Reasons issued by two

Commissioners in connection with the Related MURs; and (b) is unable to approve or deny

Plaintiff’s administrative appeal.

       5.      The FEC long ago held votes on the administrative complaints in the Related MURs

and lacked the necessary four votes to proceed with an investigation, thereby terminating the

administrative complaints. Upon information and belief, certain Commissioners have arbitrarily

and capriciously conspired to (i) force FEC administrative respondents such as Plaintiff into civil

litigation to defend against administrative complainants’ allegations and (ii) intentionally deny the

parties, courts, and general public access to records of the FEC’s votes and determinations as to

the Related MURs, all while falsely claiming the FEC failed to act. Indeed, the FEC’s FOIA

violation in this matter appears to be part of a pattern and practice to deny parties in certain

enforcement matters access to FEC records, including those lawfully available under FOIA. 5

U.S.C. § 552. See, e.g., 45Committe Inc. v. FEC, Case No. 1:22-cv-00502-ABJ (currently pending

before this Court and alleging that FEC has improperly withheld responsive documents under

FOIA in similarly situated matter).

       6.      The FEC’s withholding of responsive documents is in violation of FOIA as the

FEC’s cited FOIA exemptions are not applicable.




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        7.      The Court should order the FEC to immediately and fully comply with Plaintiff’s

FOIA Request, award Plaintiff costs and attorneys’ fees, and find that the FEC acted arbitrarily

and capriciously by withholding the responsive materials without legal basis.

                            PARTIES, JURISDICTION, AND VENUE

        8.      This Court has both subject matter and personal jurisdiction over the parties and

claims pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331. Venue lies in this District under

5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391(e)(1).

        9.      Plaintiff Josh Hawley for Senate is a nonprofit corporation incorporated in the State

of Missouri. Plaintiff is organized as a political organization pursuant to Section 527 of the Internal

Revenue Code, as amended, and is registered with the Federal Election Commission as the

authorized campaign committee of Senator Josh Hawley, who represents the State of Missouri in

the United States Senate.

        10.     Defendant Federal Election Commission is an independent agency of the United

States Government. The FEC is charged with the administration and enforcement of federal

campaign finance law. The FEC is headquartered in Washington, D.C., and its principal office is

located at 1050 First Street, NE, Washington, DC 20463.

        11.     Defendant has possession or control of records requested by Plaintiff that are the

subject of this action.

                          STATUTORY AND LEGAL BACKGROUND

        12.     The Freedom of Information Act, 5 U.S.C. § 552, requires agencies of the federal

government to release requested records to the public unless one or more specific statutory

exemptions apply.




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       13.     An agency must respond to a party making a FOIA request within twenty (20)

working days. Any agency response must, at a minimum, notify the requestor of whether the

agency has determined to fulfill the request and of the requestor’s right to appeal the agency’s

determination to the agency head. 5 U.S.C. § 552(a)(6)(A)(i). The agency must also notify the

party requesting public records of “such determination and the reasons therefor” within this

twenty (20) day timeframe. 5 U.S.C. § 552(a)(6)(6)(A)(i)(I).

       14.     In “unusual circumstances,” an agency may delay its response to a FOIA request or

appeal but must provide notice and “the date on which a determination is expected to be

dispatched.” 5 U.S.C. § 552(a)(6)(B).

       15.     There are nine (9) statutory exemptions to disclosure under FOIA. 5 U.S.C. §

552(b). FOIA “does not authorize withholding of information or limit the availability of records

to the public, except as specifically stated in this section.” 5 U.S.C. § 552(d). According to the

FEC’s two responses to Plaintiff’s FOIA Request, the FEC has relied on FOIA Exemptions 3(A)

and 5 in withholding responsive materials.

       16.     FOIA Exemption 3(A) refers to matters that are specifically exempted from

disclosure by statute, if that statute requires that the matters be withheld from the public in such a

manner as to leave no discretion on the issue or establishes particular criteria for withholding or

refers to particular types of matters to be withheld. 5 U.S.C. § 552(b)(3)(A).

       17.     FOIA Exemption 5 applies to inter-agency or intra-agency memorandums or letters

that would not be available by law to a party other than an agency in litigation with the agency. 5

U.S.C. § 552(b)(5).

       18.     FEC regulations provide that “[a]ny person who has been notified . . . that his/her

request for inspection of a record or for a copy has been denied . . . may appeal the adverse




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determination . . . by requesting the Commission to direct that the record be made available.” 11

C.F.R. § 4.8(a). “For good cause shown, the Commission may disclose a record which is subject

to one of the exemptions listed in § 4.5 of this part.” 11 C.F.R. § 4.8(e). The FEC must make a

determination on an appeal within 20 business days. 11 C.F.R. § 4.8(f).

       19.     “As a general matter, a FOIA requester must exhaust administrative appeal

remedies before seeking judicial redress.” Citizens for Responsibility & Ethics in Wash. v. FEC,

711 F.3d 180, 182 (D.C. Cir. 2013). If, however, an agency does not adhere to the above-

referenced statutory timelines in responding to a FOIA request, the requester is deemed by statute

to have fulfilled the exhaustion requirement. 5 U.S.C. § 552(a)(6)(C)(i).

       20.     “To trigger the exhaustion requirement, an agency must make and communicate its

‘determination’ whether to comply with a FOIA request — and communicate ‘the reasons therefor’

— within 20 working days of receiving the request, or within 30 working days in "unusual

circumstances.’ Id. at § 552(a)(6)(A)(i), (a)(6)(B)(i). If the agency has made and communicated

its ‘determination’ in a timely manner, the requester is required to administratively appeal that

‘determination’ before bringing suit. But if the agency has not issued its ‘determination’ within

the required time period, the requester may bring suit directly in federal district court without

exhausting administrative appeal remedies.” Citizens for Responsibility & Ethics in Wash. v. FEC,

711 F.3d at 182.

       21.     This Court “has jurisdiction to enjoin the agency from withholding agency records

and to order the production of any agency records improperly withheld from the complainant. In

such a case the court shall determine the matter de novo and may examine the contents of such

agency records in camera to determine whether such records or any part thereof shall be withheld




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under any of the exemptions set forth in subsection (b) of this section, and the burden is on the

agency to sustain its action.” 5 U.S.C. § 552(a)(4)(B).

                                   STATEMENT OF FACTS

       22.     The FEC is tasked with the administration and civil enforcement of the Federal

Election Campaign Act, as amended, 52 U.S.C. §§ 30101-46. The FEC oversees compliance with

public disclosure requirements regarding funds raised and disbursed to influence federal elections,

and with restrictions on receipts and expenditures, among other campaign finance regulations.

       23.     Plaintiff is an administrative respondent in certain FEC enforcement matters. Those

enforcement matters are among the Related MURs that are the subject of two civil actions before

this Court: Giffords v. FEC, No. 1:19-cv-1192-EGS; and Giffords v. National Rifle Association of

American Political Victory Fund, et. al., No. 1:21-cv-02887-EGS (hereinafter, “Giffords v NRA”).

        24.    On November 1, 2021, the Court in Giffords v. FEC authorized Giffords to file suit

directly against the targets of its administrative complaint, pursuant to 52 U.S.C. § 30109(a)(8)(C),

on the basis of an alleged “failure of the Commission to act on” Giffords’ administrative

complaints. Order, Giffords v. FEC, No. 1:19-cv-1192-EGS (D.D.C. Nov. 1, 2021), ECF No. 75.

Giffords should not have been permitted to pursue private action because the FEC acted on

Giffords’ administrative complaints when it deadlocked on votes to pursue enforcement action

and thereby dismissed those complaints. Even FEC counsel admitted that the Commissioners had

in fact voted on the administrative complaints at issue and the controlling bloc of Commissioners

had prepared and submitted a Statement of Reasons for the administrative record. Nevertheless,

the Court permitted the action to proceed. Id.

       25.     Because of that order, on November 2, 2021, Giffords filed Giffords v. NRA

ostensibly under 52 U.S.C. § 30109(a)(8)(C). Josh Hawley for Senate, the Plaintiff in the present




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matter, is a Defendant in Giffords v. NRA. Josh Hawley for Senate filed a Motion to Dismiss in

Giffords v. NRA on January 21, 2022, and a Reply to Plaintiff’s Opposition to its Motion to Dismiss

on March 4, 2022.

       26.     Plaintiff filed a FOIA Request with the FEC on November 23, 2021, to obtain

materials necessary to its defense in Giffords v. NRA—namely, documents evidencing the FEC’s

votes on the administrative complaints and the controlling Statement of Reasons. Specifically,

Plaintiff requested records of votes cast by FEC Commissioners in connection with any and all of

the following enforcement matters: Matter Under Review (“MUR”) 7427; 7497; 7621; 7524;

7553; 7558; 7560; 7621; 7654; and Giffords v. FEC, 1:19-cv-01192. In addition, Plaintiff

requested copies of any Statements of Reasons prepared by FEC Commissioners in connection

with any and all of the following enforcement matters: MUR 7427; 7497; 7621; 7524; 7553; 7558;

7560; 7621; 7654; and Giffords v. FEC, 1:19-cv-01192. Plaintiff’s FOIA Request is attached as

Exhibit A.

       27.     The FEC acknowledged receipt of Plaintiff’s FOIA Request via email on November

24, 2021. The FEC’s acknowledgement email is attached as Exhibit B.

       28.     The FEC informed Plaintiff by email on December 22, 2021, that it was “extending

the processing period to respond to your request by ten (10) working days to January 7, 2022.”

The FEC’s extension email is attached as Exhibit C.

       29.     On January 7, 2022, the FEC responded to Plaintiff’s FOIA Request with six pages

of redacted documents. The FEC asserted that redactions were made pursuant to FOIA Exemption

5. The FEC also informed Plaintiff that it was:

       withholding 32 pages of responsive materials under FOIA Exemptions 3(A) and 5.
       FOIA Exemption 3(A) protects from disclosure information that is specifically
       exempted from disclosure by statute. See 5 U.S.C. § 552(b)(3)(A). Pursuant to the
       Federal Election Campaign Act, the FEC may not disclose information related to



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       open enforcement matters. 52 U.S.C. § 30109(a)(12). This continues to apply to
       respondents in open matters who have not waived confidentiality pursuant to 52
       U.S.C. § 30109(a)(12) and 11 C.F.R. § 111.21.

The FEC’s response of January 7, 2022, is attached as Exhibit D.

       30.     On March 25, 2022, the FEC responded to Plaintiff’s FOIA Request with one

additional document. The FEC also informed Plaintiff:

       On January 7, 2022, the FOIA Service Center produced six pages of records
       responsive to your request, consisting of vote certifications in Giffords v. FEC, No.
       19-1192. We also informed you that we were withholding 32 pages of materials
       under FOIA Exemptions 3(A) and 5, which consist of vote certifications and a
       Statement of Reasons in MURs 7427, 7497, 7621, 7524, 7553, 7558, 7560, 7621,
       and 7654.

The FEC asserted that “[t]his completes the FEC’s response to your request.” The FEC’s response

of March 25, 2022, is attached as Exhibit E.

       31.     Plaintiff filed an administrative appeal with the FEC on March 30, 2022, seeking

consideration by the Commissioners of the FEC’s improper withholding of responsive documents,

and requesting that the Commissioners direct that all responsive documents be produced.

Plaintiff’s administrative appeal is attached as Exhibit F.

       32.     On April 27, 2022, the FEC informed Plaintiff that “[u]pon review of your FOIA

appeal, the Commission was unable to render an opinion on whether to approve or deny the appeal

by a majority vote.” The FEC’s correspondence regarding the Commissioners’ consideration of

Plaintiff’s administrative appeal is attached as Exhibit G. The effect of the Commissioners’

divided vote is apparently to maintain the status quo, and the FEC continues to improperly

withhold documents responsive to Plaintiff’s FOIA Request.

       33.     In November 2021, Plaintiff, along with all other administrative respondents in the

Related MURs, filed waivers of confidentiality under 52 U.S.C. § 30109 with the FEC’s Office of

General Counsel. Plaintiff executed and filed this waiver of confidentiality for the express purpose



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of allowing the FEC to publicly release documents in the above-referenced matters implicating the

activities of Plaintiff. See Exhibit H.

       34.     Plaintiff notified the FEC’s FOIA Office of the administrative respondents’ waivers

of confidentiality filings in its FOIA Request and again in its Administrative Appeal. Plaintiff

attached copies of all waivers of confidentiality to its Administrative Appeal.

       35.     The Court in Giffords v. FEC placed many of the filings in that matter under seal.

On December 13, 2021, the Court in Giffords v. FEC unsealed the record in that case after copies

of the above-referenced waivers of confidentiality were filed with the Court. Minute Order,

Giffords v. FEC, No. 1:19-cv-1192-EGS (D.D.C. Dec. 13, 2021). Details regarding the FEC’s

consideration of the Related MURs, including the specific dates and results of votes and the

existence of the controlling Statement of Reasons, are now known to persons outside the FEC only

because the court unsealed the record in Giffords v. FEC.

       36.     Although the dates and results of votes taken in connection with the Related MURs

are now known to the public, the FEC has refused to provide Plaintiff with the vote certifications

of those same votes in response to its FOIA Request. Similarly, it is now known to the public that

the two Commissioners who voted to dismiss the Related MURs provided the legally controlling

Statement of Reasons for the administrative record on October 26, 2021, but the FEC has refused

to provide Plaintiff with a copy of that Statement of Reasons in response to its FOIA Request. See,

e.g., Transcript, Giffords v. FEC, No. 1:19-cv-1192-EGS (D.D.C. Dec. 27, 2021), ECF No. 89 at

7.

       37.     The FEC’s two responses to Plaintiff’s FOIA Request do not adequately explain

why the FEC believes FOIA Exemptions 3(A) and 5 apply to the 32 pages of withheld responsive

materials.




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       38.     Because all administrative respondents have waived their confidentiality rights

under 52 U.S.C. § 30109, the FEC cannot rely on FOIA Exemption 3(A) as justification for

withholding responsive documents. The court in Giffords v. FEC has already made public

information about the contents of these documents on the basis of the administrative respondents’

waivers of confidentiality.

       39.     The FEC cannot rely on FOIA Exemption 5 because the Related MURs have been

lawfully dismissed, the FEC’s consideration of the Related MURs is ended, and the FEC has taken

final agency action. The documents withheld are neither predecisional nor deliberative. The two

Commissioners who voted to dismiss the Related MURs submitted their Statement of Reasons for

the administrative record. In the case of a “deadlocked” enforcement vote, where there are not the

statutorily required four votes to proceed with enforcement action, this Statement of Reasons

constitutes the FEC’s rationale for dismissal that is subject to judicial review. See FEC v. Nat’l

Republican Senatorial Comm., 966 F.2d 1471, 1476 (D.C. Cir. 1992) (“Since those

Commissioners constitute a controlling group for purposes of the decision [to dismiss], their

rationale necessarily states the agency’s reasons for acting as it did.”). Thus, the FEC has made its

decision in the Related MURs and, as a result, the documents related to the Related MURs are, by

definition, no longer “predecisional” or “deliberative.” The FEC’s response of January 7, 2022,

asserts that “the FEC may not disclose information related to open enforcement matters,” but the

FEC’s asserted position that the Related MURs remain “open” is legal error under FECA, as

construed by applicable D.C. Circuit precedent. See Citizens for Responsibility & Ethics v. FEC,

993 F.3d 880, 891 (D.C. Cir. 2021) (rejecting argument that four votes are required for dismissal

of enforcement matter and affirming longstanding holding that deadlocked enforcement votes

result in “deadlock dismissal”).




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        40.     The withheld responsive documents are critical to assisting Plaintiff in ongoing

litigation. These documents, including the FEC’s controlling Statement of Reasons in the Related

MURs, the existence of which the FEC acknowledged in separate litigation, would provide

necessary and vital information to assist the Court in considering issues raised in Giffords v NRA.

The FEC’s refusal to provide such documents, as well as the FEC’s failure to adequately explain

why FOIA Exemption 5 applies despite binding D.C. Circuit precedent to the contrary, is not only

a direct violation of the FEC’s FOIA obligations and Plaintiff’s legal rights, but also directly harms

Plaintiff’s ability to defend itself in pending litigation.

        41.     Plaintiff has fully exhausted its administrative remedies regarding the FOIA

Request at issue in this matter and is now entitled to judicial action enjoining the FEC from

continuing to improperly withhold records and ordering the production of records improperly

withheld.


                                         COUNT I
                             Violation of FOIA, 5 U.S.C. § 552
     (Injunctive and Declaratory Relief Due To the FEC’s Wrongful Failure to Produce
               Records Pursuant to, and Violation of the Provisions of FOIA)

        42.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if fully

set forth herein.

        43.     FOIA authorizes a court “to enjoin the agency from withholding agency records

and to order the production of any agency records improperly withheld from the complainant.” 5

U.S.C. § 552(a)(4)(B).

        44.     Plaintiff properly requested records that are within the FEC’s custody and control.




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       45.       The FEC is an agency subject to FOIA, and therefore must release, in response to

a FOIA request, any non-exempt records and provide a valid and lawful reason for withholding

any materials.

       46.       The FEC is improperly attempting to use FOIA Exemptions 3(A) and 5 to shield

from disclosure its votes on administrative complaints, including matters involving Plaintiffs, and

a Statement of Reasons submitted for the administrative record in connection with those same

administrative complaints.

       47.       By refusing and/or failing to produce the requested records when there is no legal

basis for doing so the FEC violates Plaintiffs’ legal rights under the FOIA statute and is otherwise

in violation of the FOIA statute.

       48.       The FEC’s failure to produce opinions rendered in enforcement proceedings is

directly contrary to 11 C.F.R. § 4.4(a)(3) and 4.5.

       49.       The FEC acted in an arbitrary and capricious manner with respect to its failure to

release the requested records because the Commission has not provided adequate legal basis for

withholding the records or delaying production, and because the purported legal basis for the

Commission doing so is contrary to binding D.C. Circuit precedent. See 5 U.S.C. § 552(a)(4)(F)(i).

       50.       Plaintiff has exhausted its administrative appeal rights, and therefore may bring suit

in this Court.

       51.       Accordingly, Plaintiff is entitled to injunctive and declaratory relief with respect to

the disclosure and release of the records pursuant to Plaintiffs’ FOIA Request and is entitled to

relief requiring the FEC to promptly produce all non-exempt records and to provide a meaningful

index justifying the withholding of any responsive records in a manner that allows the Court to

review the same in-camera.




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                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff Josh Hawley for Senate respectfully requests the following relief:

       1.      A declaration that Defendant FEC violated the Freedom of Information Act by

failing to lawfully satisfy Plaintiff’s FOIA Request;

       2.      An Order compelling the FEC to immediately process and release all records

responsive to Plaintiff’s FOIA Request at no cost to Plaintiffs, including but not limited to

the 32 pages of withheld responsive documents referenced in the FEC’s responses to Plaintiff’s

FOIA Request, and/or to immediately provide an index of all withheld documents along with

sufficient information such that Plaintiff and the Court may ascertain the basis for the

Commission’s withholding of the withheld responsive documents, and the propriety and legality

of same;

       3.      A preliminary and permanent injunction enjoining Defendant FEC from

withholding records responsive to Plaintiff’s FOIA Request;

       4.      A declaration that the FEC acted arbitrarily and capriciously by withholding the

requested records because the FEC lacked a legitimate and legal basis to do so under FOIA or

otherwise;

       5.      A ruling that this Court retain jurisdiction of this action to ensure that the FEC

properly and lawfully responds to the Request thus ensuring that no records are wrongfully

withheld;

       6.      An award to Plaintiff of costs and reasonable attorneys’ fees pursuant to 5 U.S.C.

§ 552(a)(4)(E) and/or as otherwise provided by law in light of the FEC’s lack of good faith in

refusing to comply with the statutory requirements and thereby requiring Plaintiffs to expend

resources in this matter; and




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          7.     A grant of any and all other or additional relief that the Court may deem just and

proper.



Dated: May 10, 2022                           Respectfully submitted,


                                              /s/Jason Torchinsky
                                              Jason Torchinsky (D.C. Bar No. 976033)
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                                              Jessica Johnson (D.C. Bar No. 976688)
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                                              Counsel for Plaintiff Josh Hawley for Senate




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                             CERTIFICATE OF SERVICE

       I certify that the foregoing complaint will be served as soon as the summons is available
on the following persons by certified mail, return receipt requested, and that a courtesy copy will
be emailed to Kevin Deeley, FEC’s Associate General Counsel for Litigation, at
kdeeley@fec.gov:

Office of the General Counsel
Federal Election Commission
1050 First Street NE
Washington, DC 20463

And

Attorney General of the United States Merrick Garland
c/o Assistant Attorney General for Administration
Justice Management Division
950 Pennsylvania Ave. NW
Room 1111
Washington, D.C. 20530

And

Matthew M. Graves
United States Attorney for the District of Columbia
Civil Process Clerk
555 4th St. NW
Washington, D.C. 20001




                                             /s/Jason Torchinsky
                                             Jason Torchinsky




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